Case 2:03-cV-02423-SH|\/|-tmp Document 106 Filed 06/06/05 Page 1 of 3 Page|D 126

 

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TN THE UNITED STATES DISTRICT COURT HLED mg " D'(J'
FOR THE WESTERN DISTRICT OF TENNESSEE l , __» ,

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Plaintiff,
vs. NO. 03-2423-Ma/P

THE UNIVERSITY OF TENNESSEE COLLEGE
OF MEDICINE, JOHN E. MlDTLING, M.D.
(individually and in his official capacity), HENRY G.
HERROD, M.D. (individually and in his official
capacity), RAY WALKER, M.D. (individually and

in his official capacity), and NANCY MADDOX, J.D.
(individually and in her official capacity),

Defendants.

 

ORDER ALLOWING MEMORANDUM TO EXCEED PAGE LIMITATION

 

Before the Coui't is the June 2, 2005 motion filed by Defendant Henry G. Hei'rod, M.D.,
requesting permission to exceed the Local Rule page limitation F or good cause shown, the
Couit grants the motion. Defendant Herrod may exceed the twenty (20) page limitation

it is so oRt)ERED this M day OfJune, 2005.

j/M/M/L.==_

SAMUEL H. MAYS, IR.
UNITED STATES DISTRICT COURT

 

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This notice confirms a copy ofthc document docketed as number 106 in
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Honorable Sarnuel Mays
US DISTRICT COURT

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